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              EXHIBIT 7
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From:                                           Gary Mason <gmason@masonllp.com>
Sent:                                           Tuesday, October 15, 2024 8:47 AM
To:                                             McTigue Jr., Michael W (NYC); Slawe, Meredith C (NYC)
Cc:                                             Danielle Perry; Theo Bell; Mari Gribble
Subject:                                        [Ext] Re: Individual Claimants v. Valve Corp., Case No. 01-23-0005-8758



Mike,
We are in receipt of payment from Valve, Inc. in the amount of $1,518,325.00 representing full
reimbursement of our clients’ AAA filing fees to date. As stated in my letter to you dated October 1, 2024,
we consider this payment to be in response to our prior requests for reimbursement pursuant to Section
11(c) of the 2023 Steam Subscriber Agreement (“If you seek $10,000 or less, Valve agrees to promptly
reimburse your filing fee and your share if [sic] any of AAA’s arbitration costs, including arbitrator
compensation, unless the arbitrator determines your claims are frivolous or were filed for harassment.”)
Thank you for your attention to this matter.

Gary

Gary E. Mason
d 202.640.1160 m 202.256.8540 | gmason@masonllp.com
pronouns: he/him/his

MASON LLP
5335 Wisconsin Avenue, NW, Suite 640, Washington, D.C. 20015-2052




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email and any attachments and notify us immediately. Thank you.


       Book time to meet with me




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